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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,


        V.                                                 Case No. 16-CR-832 (KMK)

                                                                      ORDER
NICHOLAS TARTAGLIONE,

                                   Defendant.



KENNETH M. KARAS, United States District Judge:

       The sealed proceeding in the captioned case, currently scheduled for October 28, 2020, is

canceled in light of pending submissions by the Parties.

       The proceeding will be rescheduled for December 1, 2020 at 10:00 a.m.


SO ORDERED.

DATED:         October 19, 2020
               White Plains, New York

                                                     KENNETH M . KARAS
                                                     UNITED STATES DISTRICT JUDGE
